          Case 8-21-70611-reg   Doc 82     Filed 06/15/21     Entered 06/15/21 18:50:39




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:
                                                         Chapter 11
  BARNET LOUIS LIBERMAN,
                                                         Case No. 21–70611 (REG)
                                Debtor.


                                CERTIFICATE OF SERVICE

Paris Gyparakis, under penalty of perjury, hereby certifies as follows:

                 1.    I am over 18 years of age, reside in New York, New York and am not a

party to this proceeding.

                 2.    On June 15, 2021, I served a copy of the Debtor’s Motion for Order (A)

Authorizing the Debtor to Reject Nonresidential Real Property Lease for Premises Located at 421

Hudson Street; (B) Fixing a Bar Date for the Filing of a Claim Related to Such Rejection; and (C)

Granting Related Relief [Doc. No. 80], upon the parties whose names and addresses are set forth

on the annexed service list by regular first-class mail, by depositing true copies of same in pre-

paid, properly addressed wrappers in an official depository under the exclusive care and custody

of the United States Postal Service within the state of New York.

Dated: New York, New York
       June 15, 2021



                                                            Paris Gyparakis




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                                       SERVICE LIST

Hudson 805 LLC                                   Kirby Aisner & Curley LLP
421 Hudson Street                                Attorneys for Slated IP LLC
New York, NY 10014                               700 Post Road, Ste 237
Attn: Officer, Managing Agent                    Scarsdale, NY 10528
      or General Agent                           Attn: Dawn Kirby, Esq.

Office of the United States Trustee              Ackerman LLP
Alfonse D’Amato Federal Courthouse               Attorneys for SMH Acquistion LLC
560 Federal Plaza, Room 560                      1251 Avenue of the Americas, 37th Fl.
Central Islip, NY 11722                          New York, NY 1020
Attn: Christine H. Black, Esq.                   Attn: Mark S. Lichtenstein, Esq.

The Kantrow Law Group, PLLC                      Rivkin Radler LLP
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Attn: Fred S. Kantrow, Esq.                      Attn: Stuart I. Gordon, Esq. &
                                                       Matthew V. Spero, Esq.
Schwartzer & McPherson Law Firm
Co-Counsel to Russell Nype and                   Gallet Dreyer & Berkey, LLP
 Revenue Plus LLC                                Attorneys for Residential Committee of
2850 South Jones Boulevard, Ste 1                 the Board of Directors of the
Las Vegas, NV 89146                               Printing House Condominium
Attn: Lenard E. Schwartzer, Esq.                 845 Third Avenue, 5th Fl.
                                                 New York, NY 10022
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 Harry Karten, Takov & Marcia Toldano            Office of the New York State
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                                                 Attn: Leo V. Gagion, Esq.
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365 Rifle Camp Road                              Attorneys for 305-421 LLC
Woodland Park, NJ 07424                          733 Third Avenue
Attn: Joshua S. Bauchner, Esq. &                 New York, NY 10017
      Anthony J. D’Artiglio, Esq.                Attn: John Giampolo, Esq.




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Rosenberg & Estis, P.C.                         Gibbons P.C.
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